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12
                             UNITED STATES DISTRICT COURT
13
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
     UNITED STATES OF AMERICA,                No. CR 19-282-RGK
15
                Plaintiff,                    PARTIES’ JOINT STATEMENT OF
16                                            DISPUTED FACTUAL AND LEGAL ISSUES
                      v.
17                                            Trial Date:      August 10, 2021
     ZHONGTIAN LIU,                           Trial Time:      9:00 a.m.
18    aka “Liu Zhongtian,”                    Location:        Courtroom of the
      aka “Chairman,”                                          Hon. R. Gary
19    aka “Uncle Liu,”                                         Klausner
      aka “UL,”
20    aka “Big Boss,”
     CHINA ZHONGWANG HOLDINGS
21      LIMITED,
      aka “ZW,”
22    aka “Mother Ship,”
     ZHAOHUA CHEN,
23    aka “Chen Zhaohua,”
      aka “Uncle Chen,”
24   XIANG CHUN SHAO,
      aka “Johnson Shao,”
25   PERFECTUS ALUMINIUM INC.,
      aka “Perfectus Aluminum Inc.,”
26   PERFECTUS ALUMINUM
        ACQUISITIONS, LLC,
27   SCUDERIA DEVELOPMENT, LLC,
     1001 DOUBLEDAY, LLC,
28   VON KARMAN – MAIN STREET, LLC,
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1       and
     10681 PRODUCTION AVENUE, LLC,
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                Defendants.
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           Plaintiff United States of America, by and through its counsel
5
     of record, the Acting United States Attorney for the Central District
6
     of California and Assistant United States Attorneys Roger A. Hsieh,
7
     Poonam G. Kumar, and Gregory D. Bernstein, and defendants Perfectus
8
     Aluminium Inc., also known as “Perfectus Aluminum Inc.” and Perfectus
9
     Aluminum Acquisitions, LLC (collectively, the “Perfectus
10
     defendants”), by and through their counsel of record, Robert Ruyak;
11
     Scuderia Development, LLC; 1001 Doubleday, LLC; Von Karman-Main
12
     Street, LLC; and 10681 Production Avenue, LLC (collectively, the
13
     “Warehouse defendants”), by and through their counsel of record,
14
     Stephen Larson, Hilary Potashner, and A. Alexander Lowder
15
     (collectively, the “parties”) hereby files its Joint Statement of
16
     Disputed Factual and Legal Issues.
17
      Dated: August 5, 2021                Respectfully submitted,
18
                                           TRACY L. WILKISON
19                                         Acting United States Attorney
20                                         SCOTT M. GARRINGER
                                           Assistant United States Attorney
21                                         Chief, Criminal Division
22
                                           /s/ Poonam G. Kumar
23                                         ROGER A. HSIEH
                                           POONAM G. KUMAR
24                                         GREGORY D. BERNSTEIN
                                           Assistant United States Attorneys
25
                                           Attorneys for Plaintiff
26                                         UNITED STATES OF AMERICA
27

28    /s/ (per email authorization)
                                              2
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1                                        ROBERT RUYAK
                                         Attorney for
2                                        The Perfectus Defendants

3
      /s/ (per email authorization)
4                                        HILARY POTASHNER
                                         Attorney for
5                                        The Warehouse Defendants

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1                        MEMORANDUM OF POINTS AND AUTHORITIES

2          The parties anticipate a number of disputed factual and legal

3    issues will be raised throughout trial. The parties have listed the

4    anticipated and known issues below. However, there may be others that

5    arise during the course of trial. The parties reserve the right to

6    raise other factual and legal issues as the parties deem appropriate.

7    DISPUTED FACTUAL ISSUES

8          The parties have met and conferred and have not been able to

9    reach stipulations regarding any factual and evidentiary issues,

10   including: (1) the authenticity of business records for which there

11   are 902(11) certifications; (2) the authenticity of documents seized

12   from defendants’ businesses; (3) the accuracy of emails translated

13   from Mandarin to English by a certified translator; (4) the chemical

14   composition of the aluminum pallets at issue in this case; and (5)

15   the historical price of defendant China Zhongwang’s stock as reported

16   by Bloomberg. Several of these issues have been briefed for the Court

17   as further described below. If needed, the government will call

18   witnesses to establish the authenticity of documents and testify to

19   the facts described above.

20         The parties also anticipate there will be many factual disputes

21   at trial as defendants contest many of the factual allegations in the

22   indictment.

23   DISPUTED LEGAL ISSUES

24         The parties anticipate the following disputed legal issues at

25   trial. For several of the anticipated disputed legal issues, the

26   parties have provided briefing to the Court.

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1          A.    Motions in Limine:

2          1.    Government’s Motion in Limine No. 1 to Preclude Argument

3    Related to Harm AD/CVD Orders Were Intended to Address (Dkt. 192

4    [Motion]; Dkt. 207 [Opposition]; Dkt. 213 [Reply]).

5          2.    Government’s Motion in Limine No. 2 to Exclude Arguments

6    that Pallets Fell Outside the Scope of the 2011 AD/CVD Orders and

7    Request for a Jury Instruction Consistent with Binding Authority

8    (Dkt. 194 [Motion]; Dkt. 209 [Opposition]; Dkt. 216 [Reply]).

9          3.    Government’s Motion in Limine No. 3 to Admit Pre-Trial

10   Self-Authenticating Foreign Records (Dkt. 195 [Motion]; Dkt. 208

11   [Opposition]; Dkt. 214 [Reply]).

12         4.    Government’s Motion in Limine No. 4 to Admit Pre-Trial

13   Certified Copies of Defendants’ Statements (Dkt. 196 [Motion]; Dkt.

14   210 [Opposition]; Dkt. 215 [Reply]).

15         5.    Defendants’ Cross-Motion in Limine to Exclude Evidence

16   Regarding Scope Ruling (Dkt. 209 [Motion]; Dkt. 216 [Opposition];

17   Dkt. 222 [Reply]).

18         6.    Government’s Motion in Limine to Admit Pre-Trial Self-

19   Authenticating Business Records (Dkt. 217 [Motion], Opposition

20   Pending).

21         7.    Defendants’ Motion in Limine No. 1 to Exclude Hearsay,

22   Irrelevant, and Unduly Prejudicial Materials (Dkt. 218 [Motion];

23   Opposition Pending).

24         8.    Defendants’ Motion in Limine No. 2 to Exclude Government’s

25   Proffered Rule 404(b) Evidence (Dkt. 219 [Motion], Opposition

26   Pending).

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1          B.    Other Disputed Legal Issues

2          1.    Jury Instructions: The parties have a number of anticipated

3    legal disputes about the appropriate jury instructions in this case.

4    The parties have prepared a joint memorandum of law regarding the

5    disputed jury instructions. Defendants reserve the right to submit

6    supplemental jury instructions as they deem appropriate.

7          2.    Equitable Estoppel Defense: On July 21, 2021, the Perfectus

8    and Warehouse defendants provided notice to the government of its

9    intent to raise an entrapment by estoppel defense “in an abundance of

10   caution” under Federal Rule of Criminal Procedure 12.3 (Dkt. 211). On

11   July 30, 2021, the government objected to defendants’ notice as

12   deficient because it failed to identify the “agency member on whose

13   behalf the defendant claims to have acted” as required under Rule

14   12.3(a)(2)(B) and the notice was untimely under Rule 12.3(a)(3) which

15   requires a government response “no later than 21 days before trial”

16   which was impossible with an August 10, 2021, trial date. See also

17   United States v. Theunick, 651 F.3d 578, (6th Cir. 2011) (Rule 12.3

18   notice for entrapment by estoppel defense deficient because defendant
19   “failed to specify in the notice the official he claims to have

20   relied upon”); United States v. Jackson, 1998 WL 149586, at *3-4

21   (N.D. Ill. Mar. 24, 1998) (distinguishing between public authority

22   and entrapment by estoppel defenses, noting that Rule 12.3 applies to

23   entrapment by estoppel).

24         Notice issues aside, an equitable estoppel defense requires the

25   following: that (1) an “authorized government official” who was

26   empowered to render the claimed erroneous advice; (2) “who has been

27   made aware of all the relevant historical facts,” (3) affirmatively

28   told defendants the proscribed conduct was permissible; (4)

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1    defendants relied on the false information; and (5) defendants’

2    reliance was reasonable. United States v. Batterjee, 3651 F.3d 1210

3    (9th Cir. 2004) (citations and certain quotations omitted).

4          The government’s objections to Defendants’ notice of their

5    entrapment by estoppel defense is misplaced. As a threshold matter,

6    the government has had notice of the substance of this defense for

7    nearly a full year. In an August 28, 2020 letter, Defendants advised

8    the government that “it will be more than challenging for the

9    government to prove that [Defendants] should have known that the

10   Orders applied back in 2011 to 2015, when the government itself had

11   expressly concluded otherwise until 2017—after multiple inspections,

12   liquidations, and a comprehensive formal audit.” Moreover, the

13   government’s reliance on Rule 12.3(a)(2)(b) is misplaced. That

14   provision requires notice only “if a defendant intends to assert a

15   defense of actual or believed exercise of public authority on behalf

16   of a law enforcement agency or federal intelligence agency at the

17   time of the alleged offense . . . .” While the government complains

18   that Defendants did not identify the agency member on whose behalf

19   the defendant claims to have acted, Defendants’ notice clearly stated

20   that Defendants do not know the identity of any relevant agency

21   members. (See Dkt. 211; Ex. A.) Moreover, because Defendants do not

22   assert a public-authority defense in these proceedings, the

23   government’s objection misses the mark.

24         Rather, Defendants assert entrapment by estoppel, a distinct

25   defense. United States v. Burt, 410 F.3d 1100, 1104 at n. 2 (9th Cir.

26   2005) (“We note that the difference between the defenses

27   of entrapment by estoppel and public authority are not great;

28   however, there are some differences between the defenses. The defense

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1    of entrapment by estoppel is available when a government official

2    commits an error and the defendant relies on the error and thereby

3    violates the law. The public authority defense is available when a

4    government official makes some statement or performs some act and the

5    defendant relies on it, possibly mistakenly, and commits an offense

6    by relying on the government official.”) (Internal citations

7    removed).

8          The language of Rule 12 is unambiguous: it applies only to a

9    public authority defense. United States v. Pitt, 193 F.3d 751, 758 at

10   n. 8 (3rd Cir. 1999) (Overruled in part on other grounds) (“The

11   requirement of pre-trial notice as to a defense based on government

12   authority, alibi, and insanity entitles the government to be prepared

13   for such a defense. Curiously, we find no requirement that a defense

14   based on entrapment by estoppel be the subject of similar pre-trial

15   notice and accompanying requirements.”)

16         In any event, the government fails to—and cannot—identify any

17   prejudice or harm stemming from the timing of Defendants’ notice.

18   Again, the government has been aware of the substance of Defendants’
19   entrapment by estoppel defense for over a year. Moreover, the

20   government fails to acknowledge that all of the witnesses identified

21   by Defendants that may provide testimony related to the defense were

22   already known to the government. Indeed, the government interviewed

23   each of the identified witnesses several times. Accordingly, for

24   multiple reasons, the government’s objection is not well-taken.

25         3.    Expert Witnesses: The parties have met and conferred

26   regarding the scope of testimony of expert witnesses and requested

27   supplemental disclosures of certain expert witnesses. The parties

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1    reserve their rights to object at trial or otherwise move to exclude

2    all or parts of the expert’s testimony.

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